     Case 3:21-cv-00721 Document 1-8 Filed 07/20/21 Page 1 of 9 PageID 101




January 6, 2021

Dean Goplerud,

We understand that, in connection with the issuance of a new Provisional Program Participation
Agreement (PPPA) for Florida Coastal School of Law (FCSL), Sterling Capital Partners, LP
(SCP I) has been requested to guarantee (cosign) the PPPA and agree to be jointly and severally
liable for FCSL’s obligations under the PPPA. We also understand that further information on
SCP I has been requested to support the execution of the PPPA without SCP I. Accordingly,
SCP I is providing the following information and additional documentation.

With respect to SCP I’s investment in Infilaw Holding, LLC, a parent entity of FCSL, we first
note that SCP I is not involved in either the day-to-day activities or the strategic direction of
FCSL. Rather, SCP I is a passive investment vehicle. SCP I has no board representation either
at FCSL or its parent companies.

By way of additional background, SCP I is an investment fund that commenced operations in
2002 for the purposes of making financial investments in businesses to generate long-term
capital appreciation for the benefit of its investors. These investors include public pension funds
and endowments among others. In connection with the formation and operation of the fund, its
general partner and manager are subject to a variety of contractual and other restrictions and are
regulated by the United States Securities and Exchange Commission. Also, as described in more
detail below, Section 6.2 of the fund's governing documents prohibit the fund from making
guarantees on behalf of Infilaw Holding, LLC or its subsidiaries during this period of the fund’s
lifecycle.

Funds such as SCP I are generally subject to a fixed term of ten years, subject to a limited
number of extensions. After the fund’s term, the fund is then in dissolution and the primary
focus of the fund is to sell, transfer or otherwise dispose of the remaining assets of the fund in an
orderly fashion and operation of the fund is generally restricted to matters in furtherance of the
ultimate winding up of the fund. SCP I’s fund term expired on October 15, 2017 and therefore
the fund is currently in dissolution. Our outside fund counsel has advised against the fund
cosigning the PPPA and thereby guaranteeing FCSL’s obligations under the PPPA on a joint and
several basis for a number of reasons, including the status of the fund as a fund in dissolution and
limitations under the fund’s partnership agreement with respect to guarantees of portfolio
company obligations as described more below.

As documentary support for these matters, we offer the following information and references
which support our own conclusions and the advice of outside fund counsel:

First, SCP I, a Delaware limited partnership, commenced operations on October 15, 2002.
Section 9.1 of SCP I’s limited partnership agreement (LPA) governs the term of the partnership
which is ten years from October 15, 2002. The term was extended by three years (with the
approval of SCP I’s SCP I’s Limited Partner Advisory Committee for the third extension year) to

               Chicago                                          BALTIMORE
               401 N. Michigan Avenue, Suite 3300               400 East Pratt Street, 8th Floor
               Chicago, IL 60611                                Baltimore, MD 21202
               (312) 465- 7000                                  (312) 465- 7000         FCSL       - 000040
               FAX: (312) 465-7001                              FAX: (312) 465-7001
     Case 3:21-cv-00721 Document 1-8 Filed 07/20/21 Page 2 of 9 PageID 102




October 15, 2015. In addition, SCP I’s term was further extended annually by the majority
approval of its limited partners through October 15, 2017. However, SCP I’s fund term was not
extended by its limited partners beyond October 15, 2017 and, as a result, the fund has been in
dissolution to allow for an orderly sale, transfer, or disposition of the fund’s investments and
ultimately a termination of the fund. Section 9.4(a) of the LPA addresses liquidation of the
partnership which in summary states that “Upon termination and dissolution, the Partnership
shall be liquidated in an orderly manner in accordance with the provisions of the Agreement and
the Partnership Act.”

Second, the general partner is not permitted to extend guarantees at this stage of the fund’s life.
Section 6.2 of SCP I’s LPA addresses limitations on guarantees which are treated as fund
indebtedness for purposes of the fund’s governing documents. Specifically section 6.2(c) states
“The Partnership may guarantee only the obligations of Portfolio Companies (and any direct and
indirect subsidiaries thereof), and for the purposes of Section 6.2(b), the guarantee of a Portfolio
Company’s obligations shall be treated as Partnership indebtedness.” Section 6.2(b) states “The
stated maturity of any indebtedness for borrowed money incurred by the Partnership shall not
extend beyond the initial ten year term of the Partnership.” [emphasis added] The intent of the
agreement to limit guarantees to the initial ten years is designed to be consistent with the
activities later in the fund’s life which are generally geared towards the winding up of the fund’s
affairs and to avoid situations to further extend operations.

In support of these references to the governing documents, we have enclosed the following
attachments:
    A. SCP I’s LPA, Amended and Restated Limited Partnership Agreement as of August 11,
       2013 and
    B. The final extension of SCP I through October 15, 2017, Amendment #6 to the A&R LPA
       of SCP I
We hope that this information is useful to summarize the status of the fund and advice provided
by SCP I’s counsel with respect to this matter. Please let us know if you have any further
questions or comments.

Kind regards,



M. Avi Epstein
Chief Operating Officer and General Counsel
Sterling Partners




                                                                               FCSL - 000041
      Case 3:21-cv-00721 Document 1-8 Filed 07/20/21 Page 3 of 9 PageID 103
Attachment A: SCP I Limited Partnership Agreement Excerpts




                                                               FCSL - 000042
Case 3:21-cv-00721 Document 1-8 Filed 07/20/21 Page 4 of 9 PageID 104




                                                         FCSL - 000043
Case 3:21-cv-00721 Document 1-8 Filed 07/20/21 Page 5 of 9 PageID 105




                                                         FCSL - 000044
Case 3:21-cv-00721 Document 1-8 Filed 07/20/21 Page 6 of 9 PageID 106




                                                         FCSL - 000045
Case 3:21-cv-00721 Document 1-8 Filed 07/20/21 Page 7 of 9 PageID 107




                                                         FCSL - 000046
           Case 3:21-cv-00721 Document 1-8 Filed 07/20/21 Page 8 of 9 PageID 108
Attachment B: SCP I Extension Through October 15, 2017

                                 AMENDMENT NO. 6 TO THE
                  AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                                        OF EACH OF
                            STERLING CAPITAL PARTNERS, L.P. AND
                         STERLING CAPITAL PARTNERS GMBH & CO. KG

             Reference is made to the Amended and Restated Agreement of Limited Partnership of Sterling
     Capital Partners, L.P., a Delaware limited partnership (“SCP I”), dated as of August 11, 2003, as amended
     (the “SCP I Agreement”), and the Amended and Restated Agreement of Limited Partnership of Sterling
     Capital Partners GmbH & Co. KG (“SCP I-Germany”) dated as of August 11, 2003, as amended (the
     “SCP I-Germany Agreement” and, together with the SCP I Agreement, the “Partnership Agreement”).
     Capitalized terms used, but not defined, herein shall have the respective meanings given them in the
     Partnership Agreement.

            WHEREAS, the term of each of SCP I and SCP I-Germany was previously extended until
     October 15, 2016;

            WHEREAS, the undersigned desire to extend the term of SCP I and SCP I-Germany until
     October 15, 2017; and

              WHEREAS, the undersigned wish to amend each Partnership Agreement to reflect the extension
     of the term of SCP I and SCP I-Germany.

             NOW THEREFORE, SC Partners Holdings, L.P., a Delaware limited partnership that is the
     general partner of SCP I and the managing limited partner of SCP I-Germany, and the undersigned
     limited partners, which are limited partners of either SCP I or SCP I-Germany, agree as follows:

             Section 9.1 of each Partnership Agreement is hereby amended and restated to read in its entirety
     as follows, with the language in brackets below to read, in the case of SCP I, “General Partner” and
     “general partner”, and, in the case of SCP I-Germany, “Managing Limited Partner” and “managing
     limited partner”, and with the phrase, “or the Partnership Act”, and the parenthetical phrase, “(as defined
     in the Partnership Act)”, applicable only to the SCP I Agreement (deleted text is shown as a strikethrough
     and additional text is shown as double underlined):

             9.1       Duration. Subject to Section 9.3, the Partnership shall terminate and be dissolved on
     October 15, 20162017, or such earlier time as determined by the [General Partner / Managing Limited
     Partner] in its sole discretion. Notwithstanding anything else contained in this Agreement or the
     Partnership Act, the Partnership shall not be dissolved and required to be wound up in connection with an
     event of withdrawal (as defined in the Partnership Act) of the [General Partner / Managing Limited
     Partner] if at the time of the occurrence of such event there is at least one remaining [general partner /
     managing limited partner] of the Partnership that is hereby authorized to and shall carry on the business of
     the Partnership.

              This Amendment shall be governed by and construed in accordance with the internal laws of the
     State of Delaware with regard to SCP I and the laws of the Federal Republic of Germany with regard to
     SCP I-Germany.

                                   [Remainder of Page Intentionally Left Blank]




                                                                                           FCSL - 000047
     Case 3:21-cv-00721 Document 1-8 Filed 07/20/21 Page 9 of 9 PageID 109


        IN WITNESS WHEREOF, the undersigned has executed this Amendment as of
the 13th day of October, 2016.


                                             GENERAL PARTNER/MANAGING LIMITED PARTNER

                                             SC PARTNERS HOLDINGS, L.P.

                                             By:        STERLING CAPITAL PARTNERS, LLC,
                                                        its general partner


                                             By:        _________________________
                                                        Title: Senior Managing Director

                       [LIMITED PARTNER SIGNATURE PAGES FOLLOW]




              [Sterling Capital Partners, L.P. and Sterling Capital Partners GmbH & Co. KG – Amendment No. 6]
                                  [General Partner/Managing Limited Partner Signature Page]
                                                                                                      FCSL - 000048
